                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    SHENZHEN GAIYATUOPU NETWORK
    TECHNOLOGY CO., LTD.,
                                                         Case No. 1:24-cv-05111
                Plaintiff,
                                                         Judge Jeffrey I. Cummings
         v.
                                                         Magistrate Judge Beth W. Jantz
    THE INDIVIDUALS, CORPORATIONS,
    LIMITED LIABILITY COMPANIES,
    PARTNERSHIPS, and                                    JURY TRIAL DEMANDED
    UNINCORPORATED ASSOCIATES
    IDENTIFIED ON SCHEDULE “A,”

                Defendants.


       PLAINTIFF'S OPPOSITION TO EMERGENCY MOTION TO VACATE TRO

        On Sunday December 1, 2024, Defendant Nos. 13 and 651 “Shenzhen Aixiong Technology

Co., Ltd. d/b/a SWEETFULL®” (“Moving Defendant”) filed an Emergency Motion to Dissolve

the Ex Parte Temporary Restraining Order [31]. On December 5, 2024, Moving Defendant filed

an uninvited Reply [36] raising additional arguments not included in the original Motion. For the

sake of completeness, and without acquiescing to the propriety of the Reply, Plaintiff responds to

all arguments raised by Moving Defendants in both filings.

I.      Efforts to Reach Compromise

        After Moving Defendant’s initial filing, the Court Ordered the Parties to “meet and confer

regarding the relief sought in defendant’s motion.” [32] On December 5, 2024, the Court further



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 During the conference on December 6, 2024, Moving Defendant confirmed that an Amazon.com
and Temu.com store were at issue. Based on that representation, Plaintiff understands Moving
Defendant operates Defendant Store Nos. 13 (Amazon Seller ID A4BBO00J6TH94) and 65 (Temu
Seller ID 634418210084037) as identified on Schedule A to the Complaint.
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Ordered the Parties to hold a telephonic conference to discuss the motion and file a joint status

report on December 6, 2024. [38]. Upon receiving each Order, Plaintiff reached out to Moving

Defendant, provided available times for a telephonic conference, and outlined initial thoughts on

how the Parties could reach a compromise regarding some or all of the issues raised in Moving

Defendant’s Motion. The Parties were ultimately able to confer via telephone on the morning of

December 6, 2024. Unfortunately, that discussion was limited by Moving Defendant to the topics

of a briefing schedule on the pending Motion or a full settlement of the case. Moving Defendant

did not wish to discuss any attempt to resolve the pending Motion short of resolving the entire

case. However, the Parties were able to agree on a proposed briefing schedule which has now been

entered by the Court [46].

II.    Legal Standard

       The Parties seemingly agree that the standard governing entering or dissolving a temporary

restraining order is the same as entering or dissolving a preliminary injunction. Plaintiff disputes,

however, that Seventh Circuit case law applied. Rather, the proper standard for resolving injunctive

relief under the Patent Act is governed by Federal Circuit caselaw. See e.g., Revision Military, v.

Balboa Mfg. Co., 700 F.3d 524, 525 (Fed. Cir. 2012) (holding that enjoining patent infringement

under 35 U.S.C. § 283 involves substantive patent law and is thus governed by Federal Circuit

case law). Thus, the Seventh Circuit cases cited throughout Moving Defendant’s motion are, at

best, persuasive authority. Where those cases apply a different standard than the standard employed

by the Federal Circuit, they offer no authority at all.

       All injunctions are governed by the same four factors set forth by the Supreme Court in

Winter: which holds that a plaintiff must establish that 1) they are likely to succeed on the merits;

2) the plaintiff will suffer irreparable harm in the absence of preliminary relief; 3) the balance of



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equities tips in their favor; and 4) that an injunction is in the public interest. See Winter v. Natural

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Contrary to Moving Defendant’s assertion, Federal

Circuit caselaw holds that “no one factor, taken individually, is necessarily dispositive, because

the weakness of the showing regarding one factor may be overborne by the strength of the others.”

Belgium v. U.S., 452 F.3d 1289, 1292-93 (Fed. Cir. 2006) (internal quotation marks and citations

omitted). Instead, the Federal Circuit recognizes that the factors are weighed as a whole such that,

for example, a greater showing of potential irreparable harm results in a lesser burden on plaintiffs

to show a likelihood of success on the merits, or vice versa. Id. (citing support). At a minimum,

however, a plaintiff must demonstrate that “it has at least a fair chance of success on the merits for

a preliminary injunction to be appropriate.” Wind Tower Coal. v. U.S., 741 F.3d 89, 96 (Fed. Cir.

2014) (citing Qingdao Taifa Group Co. v. U.S., 581 F.3d 1375, 1381 (Fed. Cir. 2009) (internal

quotation marks and citation omitted)).

III.   Scope of the Motion to Dissolve the Temporary Restraining Order

       Moving Defendant’s Motion is more properly considered a request to modify the TRO

because Moving Defendant seeks only to lift the asset restraint included in the TRO. See Motion

[31] at p. 1-2 (“Specifically, Moving Defendant seeks to unfreeze their assets as Plaintiff has failed

to meet the heavy burden to show why the TRO is appropriate.”). Moving Defendant also confirms

that it alternatively proposes modifying the injunctive relief to:

       1. Limit any freeze to only those directly traceable to the sale of the accused
          products;
       2. Allow Defendants to access frozen funds for reasonable business operating
          expenses; [and]
       3. Require Plaintiff to post a substantial bond to compensate ALL Defendants for
          damages and potential damages cause by wrongful restraint.

[31], p. 15 (emphasis in original).




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       In other words, Moving Defendant does not ask that the Court lift the injunction against

continued sales of the Infringing Products. Addressing first the proposed alternative modification2,

the proposal is not significantly inconsistent with the current TRO at least not as presently

enforced. Regarding modification number 1, Moving Defendant proposed limiting the TRO (and

any subsequently issued preliminary injunction) to “only those [assets] directly traceable to the

sale of the accused products.” However, Financial assets, such as the disputed balance in Moving

Defendant’s online accounts, are entirely fungible. That is, there is no way to differentiate funds

in a financial account as being “directly traceable” to the sale of one item or another. What can be

shown definitively, is that the frozen balance pales in comparison to the volume of infringing sales.

The TRO has been served on the marketplaces identified in Schedule A and each has responded

with certain document production as called for in the TRO. See [21] at ¶4. As relevant to Moving

Defendant, Amazon.com has responded to state that Moving Defendant’s account, at the time of

enforcing the TRO, held $35,505.57 and that Moving Defendant had sold $1,692,764.41 under the

Product IDs identified in the TRO. See Exhibit A (Amazon.com production, filtered to Moving

Defendant’s Seller ID and ASINs). Meanwhile, Temu.com reported that it froze just $15.79 in

Moving Defendant’s account against sales of 58 units3. See Exhibit B (Temu.com production,

filtered to Moving Defendant’s Store ID and Product IDs). Collectively then, Moving Defendant

has sold nearly $1.7M in accused sales and its finances have only been restricted by a mere

$35,521.36 (roughly 2%).



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  Plaintiff would have been willing to discuss this proposed modification during the Parties’
December 6, 2024 telephone conference, but Moving Defendant wished only to discuss either a
full settlement or a briefing schedule on the Motion. It is also noted that the proposed modifications
are somewhat consistent with the proposals outlined in Plaintiff’s initial response [35] to the
Court’s December 2, 2024 Minute Entry [32], which suggested inter alia that Moving Defendant
place a bond in lieu of an asset restraint.
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  Temu.com does not report sales in financial terms.
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       Recognizing that the balance of the financial accounts may continue to grow during this

case, Plaintiff would not oppose capping the amount withheld at 100% of the disputed sales.

Notably, because this is a design patent case, Plaintiff can recover the greater of a reasonable

royalty under 35 U.S.C. § 284 or Moving Defendants “total profit” from any infringing sales. See

35 U.S.C. § 289. In establishing those damages, Plaintiff bears only the burden of showing sales

(a burden it has already met as shown in Exhibits A and B) and it was Moving Defendants burden

to show any costs or deductions. See e.g., Nordock Inc. v. Systems, Inc., No. 11-cv-118, 2017 U.S.

Dist. LEXIS 192413, at *7 (E.D. Wisc. Nov. 21, 2017). Absent such a showing, the appropriate

measure of profits is gross sales. This is particularly true because Moving Defendant appears to be

undercutting Plaintiff’s sales price. Compare Exhibit A (showing average sales prices of $8.96 -

$9.25 for Moving Defendant’s products on Amazon) with 31-3 (Exhibit 3 to Moving Defendant’s

Motion, showing sales price of over $15 for Plaintiff’s product).

       Regarding the second proposed modification – allowing Moving Defendants to access

funds for normal business operations – again, the scope of the TRO as currently enforced appears

to address this concern. As shown above, Moving Defendant has made nearly $1.7M in accused

sales and has lost access to a mere $35,521.36. Meanwhile, Moving Defendant asserts to have only

a single shareholder (see Notification of Affiliates [30]) and asserts to sell approximately 27 other

products that are not restricted by the current TRO (see [31-1] Declaration of Fangzhou Chai at

¶4). Finally, as noted above, Plaintiff would not oppose limiting the asset freeze to the total sales

of the Infringing Products (roughly $1.7M) after which, assuming there were no further infringing

sales, Moving Defendant would be free to use excess proceeds for any purpose.

       Finally, Moving Defendant lacks standing to request a bond to compensate for perceived

damages to other Defendants. Likewise, the Court has already required a substantial bond of



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$10,000 which has been deemed “adequate for the payment of such damages as any person may

be entitled to recover as a result of a wrongful restraint hereunder.” [21] at p. 7. Moving Defendant

provides no support for its assertion that it has incurred any damages as a result of the TRO and,

as outlined below, has failed to demonstrate that it has been wrongfully enjoined or that the TRO

should be vacated. Consequently, there is already an adequate bond.

       To the extent the Court determines that the TRO (or a subsequently entered preliminary

injunction) requires further restrictions as to Moving Defendant, Plaintiff proposes that the

injunction be modified only to limit the scope of the asset restraint to the gross infringing sales,

i.e. $1,692,764.41 plus the gross sales for Moving Defendant’s 58 products sold on Temu.

IV.    There Has Been Nothing Nefarious About the Timing of the TRO

       Contrary to Moving Defendant’s assertions, Plaintiff did not delay requesting a hearing on

its temporary restraining order until November 15, 2024 and the timing of the Court’s Order had

nothing to do with Thanksgiving holiday. To the contrary, the docket clearly indicates that Plaintiff

promptly moved for a TRO just nine days after it filed the Complaint. Compare Complaint [1],

filed on June 19, 2024 with Motion for Temporary Restraining Order [14] and Memorandum in

Support [15] each filed on June 28, 2024. On July 3, 2024, the Court entered and continued

Plaintiff’s TRO Motion along with Plaintiff’s Motion for Leave to File Under Seal [4] and its

Motion for Electronic Service of Process [16]. See July 3, 2024 Minute Entry [17]. The Court

continued those motions because the Court sua sponte Ordered that Plaintiff first address whether

joinder was proper in this case. Id. As Ordered, Plaintiff filed a Memorandum [18] establishing

that joinder was proper on July 22, 2024. In other words, Plaintiff promptly requested a temporary

restraining order and promptly responded to the Court’s question regarding joinder.




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        No plaintiff has direct control over how quickly a court will rule on a motion. Thus,

Plaintiff could not control whether the Court addressed the question of joinder and the subsequent

ruling on the temporary restraining order immediately after Plaintiff’s supplemental filing in late

July or at any time thereafter. Plaintiff certainly did not request that the Court withhold its ruling

until closer to the Thanksgiving holiday. Rather, Plaintiff requested a status hearing when it

discovered that a prominent website catering to foreign intellectual property infringers has

published a webpage dedicated to this case and that the webpage had received over 1,700 visits.

See Motion for Status Hearing [19] and screenshot of www.sellerdefense.cn webpage [19-1]. If

the TRO had been entered in June/July, Moving Defendant would complain that it was strategically

timed for the July 4 shopping weekend; if it had been entered in August/September, Moving

Defendant would complain that it was strategically timed for back to school and end of summer

sales; and if it had been entered in October, Moving Defendant would that it was strategically

timed for Amazon’s Prime Day sales. In the end, plaintiffs have no direct control and, at best,

limited influence over when temporary restraining orders are entered in cases and this case is no

different.

V.      Plaintiff Has Adequately Shown Irreparable Harm

        Ironically, Moving Defendant’s own purported evidence demonstrates the threat of

irreparable harm if Defendants, including Moving Defendants, are not enjoined from continuing

to infringe Plaintiff’s patent rights. Specifically, Moving Defendant asserts to provide “publicly

available” sales and ranking data of Plaintiff’s product through a paid subscription to “Keepa.” See

Motion [31] at p. 6 and Exhibit 3 thereto [31-3] (asserting that Plaintiff’s sales peaked near the

time it filed its Complaint in June 2024). Setting aside the validity and authenticity of this

information, Moving Defendant’s own evidence shows a steady decline in sales rank before the



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TRO was entered. See [31-3] at p. 3 (graph at top of page showing steady increase in sales rank

before July – demonstrated by the green line approaching the horizontal access – and a substantial

decrease thereafter – demonstrated by the green line proceeding away from the axis). The recent

data shown in Moving Defendants exhibit shows the effect the TRO has had in reverting this trend

and returning the status quo in that the green line appears to be reverting back toward the horizontal

access, though still significantly lagging behind the pre-suit numbers. In other words, Moving

Defendant’s Exhibit 3 demonstrates that absent injunctive relief, Plaintiff’s sales ranking (which

is indicative of the unquantifiable success of its market share) was declining and that the entrance

of the injunctive relief began to correct the market to the pre-suit condition.

       The second chart on page 3 of Moving Defendant’s Exhibit 3 [31-3] tells a similar story.

This chart appears to contrast the monthly number of sales (indicated by the yellow line) on top of

sales ranking data across different related genres (the various shades of green). As shown, sales

were increasing before suit, plateaued around the time of suit, had one brief blip in August before

returning to the plateau, and then decreased until the TRO was entered. Id. After the TRO was

entered, the sales appear to be moving upward, though still lag behind even the post-suit plateau

numbers. In other words, Moving Defendant’s own evidence again demonstrates the lost sales and

lost market share Plaintiff was experiencing absent injunctive relief and the start of a return to the

status quo ante after the injunction was entered.

       As noted in Plaintiff’s Memorandum in Support of its Motion for Temporary Restraining

Order, loss of market share is difficult or impossible to quantify and thus constitutes irreparable

harm. See [15], p. 8-9 (citing Black & Decker v. Robert Bosch Tool Corp., No. 04-C-7955, 2006

U.S. Dist. LEXIS 86990 (N.D. Ill. Nov. 29, 2006) (“Loss of market share is a key consideration in

determining whether a plaintiff has suffered irreparable harm”)). Likewise, even after the Supreme



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Court rejected a presumption of irreparable harm in eBay v. MercExchange, LLC, 547 U.S. 388,

394 (2006), courts have continued to look to the loss of the right to exclude as a relevant factor to

consider when weighing irreparable harm. Id. at p. 10 (citing Robert Bosch, LLC v. Pylon Mfg.

Corp., 659 F.3d 1147, 1149 (Fed. Cir. 2011). This is particularly true in the present case because

Plaintiff has valued its right to exclude as an asset from which it derives market share. Moving

Defendant’s own evidence demonstrates this point and demonstrates that even injunctive relief

cannot immediately restore Plaintiff to its pre-suit condition. Thus, even a permanent injunction

would not remedy the harm Plaintiff will suffer in the interim absent preliminary relief.

       It should be appreciated that a reduction in sales ranking, as evidenced by Moving

Defendant’s charts, goes beyond mere lost sales. In the modern world of e-commerce, sales

rankings are essentially feedback loops in that an increase in sales, resulting in improved sales

ranking, further improves sales, which further improves sales ranking, etc. Conversely, decreased

sales and decreased sales ranking have a similar negative feedback loop. This is because online

marketplaces are designed to promote successful products under the belief that those will be the

products that consumers want. Thus, Plaintiff’s loss of market share and sales ranking has an

unquantifiable impact on its sales. That is, its not merely that a possible sale went to Moving

Defendant instead of Plaintiff, but that if Plaintiff would have rightfully obtained that sale (or more

accurately a number of sales) it would have improved Plaintiff’s sales ranking and led to an

unknown number of additional sales. That loss of sales ranking and loss of unknown future sales

is thus unquantifiable and irreparable by mere money damages or a later permanent injunction.

VI.    Moving Defendant’s Purported Invalidity Defense Lacks Substantial Merit

       Moving Defendant identifies three purported pieces of prior art in its Motion [31] and

attempts to raise an additional purported reference in its uninvited Reply [36]. The references do



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not invalidate Plaintiff’s Asserted Patent (U.S. Patent No. D964,544, the ’544 Patent).

       The first purported reference identified by Moving Defendant is Chinese Design No.

CN305809740S (the ’740 Design), purportedly issued on May 26, 2020. Moving Defendant

readily admits, however, that the ’740 Design does not anticipate the design of the ’544 Patent and

instead asserts that any difference is a “conventional ornamental feature in fan products as

disclosed for example in CN306581614S . . . and KR3009971280000S.” [31] at p. 9. Against these

references, Moving Defendant provides only a single comparative image of two figures from the

’740 Design next to the cover image of the ’544 Patent. Moving Defendant thus fails to address

the design of the ’544 Patent from all views claimed in the ’544 Patent.

       Design patents are presumed to be valid. 35 U.S.C. § 282(a). Thus, a party seeking to

invalidate a patent on obviousness grounds must do so by clear and convincing evidence. See

Catalina Lighting v. Lamps Plus, 295 F.3d 1277, 1288 (Fed. Cir. 2002). The Federal Circuit has

recently restated the test for obviousness (disposing of the prior Rosen/Durling test) and held that

“[i]nvalidity based on obviousness of a patented design is determined [based] on factual criteria

similar to those that have been developed as analytical tools for reviewing the validity of a utility

patent under § 103, that is, on application of the Graham factors.” LKQ Corp. v. GM Glob. Tech.

Operations LLC, 102 F.4th 1280, 1295 (Fed. Cir. 2024) (quoting, with alteration, Hupp v. Siroflex

of Am. Inc., 122 F.3d 1456, 1462 (Fed. Cir. 1997)). In Graham, the Supreme Court explained that

obviousness is ultimately a question of law but based on several factual inquiries including 1) the

scope and content of the prior art; 2) the differences between the prior art and the claimed

invention; 3) the level of ordinary skill in the art at the time of the invention and 4) certain

“secondary considerations” of non-obviousness such as commercial, success, long felt need,

failure of others, etc. See Graham v. John Deere Co. of Kansas City, 383 U.S. 1, 17-18 (1966).



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       Moving Defendant largely leaves this inquiry to the Court’s imagination. Again, Moving

Defendant provides only one comparative image and fails to show or allege how teachings of one

reference would be combined into the teachings of other references. Moving Defendant readily

admits that the ’740 Design lacks at least one design element present in the ’544 Patent – a circular

ring near the back cover. [31], p. 9. Additionally, the ’544 Patent includes parting lines that are not

shown in the ’740 Design, additional internal components, and a protruding bump on its front

surface:


                                                                    Circular ring



                Bump
                                                                      Additional internal
                                                                      components


                                                                           Parting lines




                                 ’544 Patent Figure 6

       In contrast, the ’740 Design has a smooth front surface, no parting lines, and fan elements

that appear more rearwardly located with an otherwise open interior:



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                                                                       No circular
                                                                       ring
     Smooth front
     surface
                                                                        Rearward fan
                                                                        blades with
                                                                        otherwise
                                                                        open interior




                                                                 No Parting lines




       While Moving Defendant need not prove invalidity by clear and convincing evidence at

this stage, they must still demonstrate that the asserted patent is vulnerable to invalidity. See

Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1359 (Fed. Cir. 2001)

(distinguishing the standard at summary judgment or trial from the lesser burden at the preliminary

injunction state). Here, the threadbare assertion of obviousness in Moving Defendant’s Motion

[31] falls well short of showing that it is likely to succeed in proving invalidity and thus Moving

Defendant’s purported invalidity defense lacks substantial merit and does not prohibit the entrance

of injunctive relief. The shortcomings of Moving Defendant’s argument is readily apparent from

its assertion of motivation. Specifically, Moving Defendant asserts that “an ordinary designer in

the field would have been motivated to modify the ’740 design to include the circular ring disclosed

in the ’614 Patent or the ’000 Patent to create the same visual appearance as the claimed handheld

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fan design.” [31] at p. 10. This is a clear recitation of hindsight construction. The only reason

Moving Defendant asserts for combining the references is to recreate the claimed design taught by

the ’544 Patent. In other words, the asserted patent itself is the only motivation to combine.

       Moving Defendant’s Uninvited Reply [36] names an additional piece of purported prior art

simply as ASIN B0919T22LT, which Moving Defendant asserts has been available for sale since

March 29, 2021. Again, Moving Defendant little actual analysis. Instead, Moving Defendant

provides a single image which has several notable differences including a different base shape,

different fan shroud, and a pedestal that tapers near its top. Moreover, Moving Defendant fails to

authenticate the product or present competent evidence regarding its purported sales date. Moving

Defendant provides no information about what or who “Keepa” or why the information they

purportedly provide about ASIN B0919T22LT is accurate or reliable. For at least these reasons

Moving Defendant has failed to support its assertion of invalidity.

VII.   Moving Defendant’s Products Infringe the ’544 Patent

       Turning back to the substance of the Temporary Restraining Order, the Order prevents

Defendants, including Moving Defendant from inter alia “making, using, importing, offering for

sale, or selling products that infringe upon [U.S. Patent No. D964,544], including the products

described in the Verified Complaint and its accompanying exhibits and those available at or under

the accused product URLs, ASINs, and/or Product IDs listed in Schedule A to the Verified

Complaint and attached hereto . . .” [21] at p. 2-3. For the Moving Defendant, identified as

Defendant Stores #13 and 65, those products are as follows:

          Def. #   Merchant Alias    Merchant ID          Product ID           Platform
          13       SWEETFULL®        A4BBO00J6TH94        B0BR3HFJZB           Amazon
                                                          B0BR3JG3C8
                                                          B0CC1LVWHB
          65       SWEETFULL         634418210084037      601099554610553      Temu
                                                          601099556211440


                                                13
See TRO [21] at pp. 9, 14 (identifying infringing products by Product Links, which include ID

numbers as part of the link), see also Schedule A to Complaint [5-1] at pp. 3, 9 (providing both

Product IDs and links).

       Plaintiff also included images of each Infringing Product with its Verified Complaint to

support its request for a temporary restraining order. See Exhibit 2 to the Complaint [6]-[9]

(Moving Defendant’s products under its Amazon store, Defendant Store No. 13, are included in

Exhibit 2A [6] and Moving Defendant’s products under its Temu store, Defendant Store No. 65,

are included in Exhibit 2C [8]).

       Moving Defendant attempts to differentiate its product by asserting purportedly substantial

difference between its products and the ’544 Patent (while falsely asserting that the ’740 Design

is identical, despite previous acknowledging differences). It should be noted that a “patented and

allegedly infringing designs need not be identical for infringement of a design patent to be found.”

Competitive Edge, Inc. v. Staples, Inc., 763 F. Supp. 2d 997, 1011 (N.D. Ill. 2010) (citing OddzOn

Prods., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1405 (Fed. Cir. 1997)). Indeed, the Patent Act

incorporates “colorable imitation” within the definition of infringement for a design patent. See 35

U.S.C. § 289. Thus, the inquiry is whether an ordinary observer, familiar with the prior art, would

be deceived into thinking that the accused design was the same as the patented design.” Egyptian

Goddess, Inc., v. Swisa, Inc., 543 F.3d 665, 672 (Fed. Cir. 2008). While there are minor differences

between the ’544 Patent and the Infringing Products sold by Moving Defendant, they are

insubstantial and do no more than render Moving Defendant’s design a “colorable imitation” of

Plaintiff’s patented design. In fact, Plaintiff believes that discovery will demonstrate that Moving

Defendants directly lifted the design of their product from Plaintiff. In view of the substantial

showing of irreparable harm discussed above and the Federal Circuit’s application of a “sliding



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scale” analysis, Plaintiff has shown at least a fair chance of success on the merits that in view of

the other factors weighs in favor of a preliminary injunction. See Wind Tower Coal 741 F.3d at 96.

VIII. Balance of Hardships and the Public Interest

       Moving Defendant’s assertions regarding hardship conflict with the undisputed facts and

its own statements. For example, Moving Defendant cannot reasonably be harmed by the freezing

of its Temu account (and the $15.79 held therein) where it acknowledges that the account is “not

as actively managed” and thus Moving Defendant was not even aware that it was restricted. See

[36] at p. 5. Likewise, the discovery from Amazon shows that Moving Defendant has made nearly

$1.7M selling just one of its 28 products over the last two years. Compare Exhibit A (showing

sales of the Infringing Product) with [31-1] ¶4 (asserting Moving Defendant sells 27 other

products) and ¶6 (asserting that the Infringing Product has been sold since December 2022).

       Moving Defendant provides only attorney argument regarding harm stating, without

support, that the TRO (which is holding $35,521.36) is preventing basic business operations but

fails to identify what those operations are or how Moving Defendant is prevented from meeting

them. The unsupported argument does not outweigh the loss of market share discussed supra.

       Similarly, Moving Defendant asserts that the public interest is served by “fostering

competition and ensuring availability of innovative products to consumers.” [31], p. 13 (citing

Apple, Inc. v. Samsung, Elecs., Co, 695 F.3d 1370, 1375 (Fed. Cir. 2012). If the desire for

alternative products were enough to defeat a preliminary injunction, no injunction would ever issue

against ongoing infringement. The harm to the public interest at issue in this factor is more akin to

a pressing public need for medical devices, drugs, or other products that would damage the public

good if access were restricted unnecessarily. See e.g., Hybritech, v. Abbott Labs., 849 F.2d 1446,

1458 (Fed. Cir. 1998). This is not such a case.



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Date: December 9, 2024        Respectfully submitted,

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                              Counsel for Plaintiff, Shenzhen Gaiyatuopu
                              Network Technology Co., Ltd.




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system this December 9, 2024. Any other counsel of record will be served by electronic
mail and/or first-class mail.



                                                  /s/ Benjamin A. Campbell
                                                  Benjamin A. Campbell




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